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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 HEATHER M. SNOW AND
 ZACHARY S. SNOW,


                         Plaintiffs,
                  v.
                                                          Civil Action No. 1:24-cv-02274
 THE PARTNERSHIPS AND
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE A

                         Defendants.

                                          COMPLAINT

       Plaintiffs Heather M. Snow and Zachary S. Snow (collectively “Plaintiffs”) hereby bring

the present action against the Partnerships and Unincorporated Associations identified in Schedule

A attached hereto (collectively, “Defendants”) and alleged as follows:


                                  JURISDICTION AND VENUE

       1.        This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Patent Act, 35 U.S.C. § 1, et seq., 28 U.S.C. § 1338(a)-(b) and 28

U.S.C. § 1331.

       2.        Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, commercial Internet stores operating under the Online Marketplace

Accounts identified in Schedule A attached hereto (collectively, the “Defendant Internet Stores”).

Specifically, Defendants are reaching out to do business with Illinois residents by operating one

or more commercial, interactive Defendant Internet Stores through which Illinois residents can


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purchase products featuring Plaintiffs’ patented system. Each of the Defendants has targeted sales

from Illinois residents by operating online stores that offer shipping to the United States, including

Illinois, accept payment in U.S. dollars and, on information and belief, has sold products featuring

Plaintiff’s patented design to residents of Illinois. Each of the Defendants is committing tortious

acts in Illinois, is engaging in interstate commerce, and has wrongfully caused Plaintiffs substantial

injury in the State of Illinois.

        3.      Joinder in this matter is proper under 35 U.S.C. § 299(a) as the Defendants are all

offering for sale the same infringing product and this case will involve common questions of fact

to all Defendants. Furthermore, Defendant Internet Stores share unique identifiers, such as using

the same or substantially similar product images, same advertising, design elements and

similarities of the infringing products offered for sale, establishing a logical relationship between

them and suggesting that Defendants’ operation arises out of the same transaction, occurrence, or

series of transactions or occurrences.

                                         INTRODUCTION

        4.       This action has been filed by Plaintiffs to combat online infringers who trade upon

Plaintiff’s reputation and goodwill by selling and/or offering for sale unauthorized and unlicensed

products, namely the rotary blade savers shown in Exhibit 1, that infringe Plaintiffs’ patent (the

“Infringing Products”). The Defendants create the Defendant Internet Stores and design them to

appear to be selling genuine products, while actually selling Infringing Products to unknowing

consumers. Defendants attempt to avoid liability by going to great lengths to conceal both their

identities and the full scope and interworking of their operation. Plaintiffs are forced to file this

action to combat Defendants’ infringement of its patent, as well as to protect unknowing

consumers from purchasing Infringing Products over the Internet. Plaintiffs have been and




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continue to be irreparably damaged from the loss of its lawful patent rights to exclude others from

making, using, selling, offering for sale, and importing its patented blade saver system as a result

of Defendants’ actions and seeks injunctive and monetary relief.

                                          THE PARTIES

                       Plaintiffs Heather M. Snow and Zachary S. Snow

       5.      Plaintiffs Heather M. Snow and Zachary S. Snow (“Plaintiffs”) are individuals that

reside in California. Plaintiffs are the owner of a U.S. Patent, a true and correct copy of which is

attached hereto as Exhibit 2 (the “Patent”).

       6.      Plaintiffs are the owner of all right, title and interest in the Patent, including all

rights to enforce and prosecute actions for infringement and to collect damages for all relevant

times against infringers of the Patent. Accordingly, Plaintiffs possess the exclusive right and

standing to prosecute the present action for infringement of the Patent by Defendant.

       7.      Plaintiffs offer for sale a product covered by the patent via online retailers such as

its own website, which practice the Patent. Plaintiffs have established their products as the first to

market, protected by patent, and has an established reputation and quality reviews.

       8.      Plaintiffs’ product is well received by customers who desire a novel and efficient

tool to reuse old rotary blades that allows for their used rotary blades to be safely used.

       9.      Plaintiffs have not granted a license or any other form of permission to Defendants

with respect to the Patent.

                                          The Defendants

       10.     Defendants are individuals and business entities who, upon information and belief,

reside in the People’s Republic of China and elsewhere outside of the United States. Defendants

conduct business throughout the United States, including within the State of Illinois and this

Judicial District, through the operation of the fully interactive, commercial online marketplaces


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operating under the Defendant Internet Stores. Each Defendant targets the United States, including

Illinois, and has offered to sell, ready to ship, and, on information and belief, has sold and continues

to sell Infringing Products to consumers within the United States, including the State of Illinois.

        11.     On information and belief, Defendants are an interrelated group of infringers

working in active concert to knowingly and willfully make, use, offer for sale, sell, and/or import

into the United States for subsequent sale or use products that infringe directly and/or indirectly

the Patent in the same transaction, occurrence, or series of transactions or occurrences. For

example, Defendants all sell and/or offer for sale the same infringing products with minor

variations as well as similar if not identical product images and descriptions as shown in the

Exhibit. Tactics used by Defendants to conceal their identities and the full scope of their operation

make it virtually impossible for Plaintiffs to learn Defendants’ true identities and the exact

interworking of their network. If Defendants provide additional credible information regarding

their identities, Plaintiffs will take appropriate steps to amend the Complaint.

        12.     Plaintiffs have not licensed or authorized Defendants to use the invention claimed

in the Patent, and none of the Defendants are authorized retailers of Plaintiffs’ Products.

        13.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their network of Defendant Internet Stores.

On information and belief, Defendants regularly create new online marketplace accounts on

various platforms, as well as other unknown fictitious names and addresses. Such Defendant

Internet Store registration patterns are one of many common tactics used by the Defendants to

conceal their identities, the full scope and interworking of their operation, and to avoid being shut

down.




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        14.    Even though Defendants operate under multiple fictitious names, there are

numerous similarities among the Defendant Internet Stores. The Defendant Internet Stores include

notable common features beyond selling the same infringing products, including the same product

images, lack of reliable contact information, and the use of the same or substantially similar text,

images, product descriptions, some even including content copied from Plaintiffs’ original product

listings.

        15.    In addition to operating under multiple fictitious names, Defendants in this case and

defendants in other similar cases against online infringers use a variety of other common tactics to

evade enforcement efforts. For example, infringers like Defendants will often register new online

marketplace accounts under new aliases once they receive notice of a lawsuit. Infringers also

typically ship products in small quantities via international mail to minimize detection by U.S.

Customs and Border Protection.

        16.    Further, infringers such as Defendants typically operate multiple credit card

merchant accounts behind layers of payment gateways so that they can continue operation in spite

of Plaintiffs’ enforcement efforts, such as take down notices. On information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their online

marketplace accounts or other financial accounts to off-shore bank accounts outside the

jurisdiction of this Court. Indeed, analysis of transaction histories from previous similar cases

indicates that offshore infringers regularly move funds from U.S.-based accounts to China-based

bank accounts outside the jurisdiction of this Court.

        17.    Defendants, without any authorization or license from Plaintiffs, have knowingly

and willfully offered for sale, sold, and/or imported into the United States for subsequent resale or

use products that infringe directly and/or indirectly the Patent, and continue to do so via the




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Defendant Internet Stores. Each Defendant Internet Store offers shipping to the United States,

including Illinois, and, on information and belief, each Defendant has sold Infringing Products into

the United States, including Illinois.

       18.     Defendants’ infringement of the Patent in the offering to sell, selling, or importing

of the Infringing Products was willful.

       19.     Defendants’ infringement of the Patent in connection with the offering to sell,

selling, or importing of the Infringing Products, including the offering for sale and sale of

Infringing Products into Illinois, is irreparably harming Plaintiffs.

                                     COUNT I
                      INFRINGEMENT OF UNITED STATES PATENT
                                 (35 U.S.C. § 271)

       20.     Plaintiffs hereby re-allege and incorporate by reference the allegations set forth in

the preceding paragraphs.

       21.     Defendants offer for sale, sell, and/or import into the United States for subsequent

resale or use Infringing Products that infringe directly and/or indirectly the system claimed in the

Patent. Infringement by the Infringing Products is demonstrated by the claim chart in Exhibit 3.

       22.     Defendants have infringed the Patent through the aforesaid acts and will continue

to do so unless enjoined by this Court. Defendants’ wrongful conduct has caused Plaintiffs to suffer

irreparable harm resulting from the loss of their lawful patent rights to exclude others from making,

using, selling, offering for sale, and importing the patented inventions. Plaintiffs are entitled to

injunctive relief pursuant to 35 U.S.C. § 283.

       23.     Unless a preliminary and permanent injunction is issued enjoining Defendants and

all others acting in active concert therewith from infringing the Patent, Plaintiffs will be greatly

and irreparably harmed.




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       24.     Plaintiffs are entitled to recover damages adequate to compensate for the

infringement, including Defendants’ profits pursuant to 35 U.S.C. § 289. Plaintiffs are entitled to

recover any other damages as appropriate pursuant to 35 U.S.C. § 284.


                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for a judgment against Defendants as follows:

1)     That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under or in active concert with them be

temporarily, preliminarily, and permanently enjoined and restrained from:

       a.       offering for sale, selling, and importing any products not authorized by Plaintiffs

               and that include any reproduction, copy or colorable imitation of the design claimed

               in the Patent;

       b.      aiding, abetting, contributing to, or otherwise assisting anyone in infringing upon

               the Patent; and

       c.      effecting assignments or transfers, forming new entities or associations or utilizing

               any other device for the purpose of circumventing or otherwise avoiding the

               prohibitions set forth in Subparagraphs (a) and (b).

2)     Entry of an Order that, upon Plaintiffs’ request, those in privity with Defendants and those

with notice of the injunction, including, without limitation, any online marketplace platforms such

as eBay, AliExpress, Alibaba, Amazon, Wish.com, Walmart.com, Temu and Dhgate, web hosts,

sponsored search engine or ad-word providers, credit cards, banks, merchant account providers,

third party processors and other payment processing service providers, Internet search engines

such as Google, Bing and Yahoo (collectively, the “Third Party Providers”) shall:




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       a.      disable and cease providing services being used by Defendants, currently or in the

               future, to engage in the sale of goods that infringe the Patent;

       b.      disable and cease displaying any advertisements used by or associated with

               Defendants in connection with the sale of infringing goods using the patented

               design; and

       c.      take all steps necessary to prevent links to the Defendant Internet Stores identified

               on Schedule A from displaying in search results, including, but not limited to,

               removing links to the Defendant Internet Stores from any search index;

3)     That Plaintiffs be awarded such damages as it shall prove at trial against Defendants that

are adequate to compensate Plaintiffs for infringement of the Patent, and all of the profits realized

by Defendants, or others acting in concert or participation with Defendants, from Defendants’

unauthorized use and infringement of the Patent;

4)     That Plaintiffs be awarded from Defendants, as a result of Defendants’ use and

infringement of the Patent, three times Plaintiff’s therefrom and three times Defendants’ profits

therefrom, after an accounting, pursuant to 35 USC § 284;

5)     That Plaintiffs be awarded its reasonable attorneys’ fees and costs; and

6)     Award any and all other relief that this Court deems just and proper.




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DATED March 20, 2024.                             Respectfully submitted,

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